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                                    UNITED STATES DISTRICT COURT
 1                                NORTHERN DISTRICT OF CALIFORNIA
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     CHASOM BROWN, WILLIAM BYATT,
 4   JEREMY DAVIS, CHRISTOPHER CASTILLO,                  Case No.: 4:20-cv-03664-YGR-SVK
     and MONIQUE TRUJILLO, individually and on
 5   behalf of all other similarly situated,              [PROPOSED] ORDER
 6                  Plaintiffs,                           Judge: Hon. Yvonne Gonzalez Rogers

 7                  v.
 8   GOOGLE LLC,
 9                  Defendant.
10

11          In light of the Parties’ Joint Notice of Preliminary Settlement and Request for Stay and
12   Vacatur of Trial Date, the Court VACATES the trial date in this matter and STAYS this litigation for
13   60 days pending the Parties’ submission of the settlement agreement for approval.
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16    DATED:     December 28, 2023
                                                        HON. YVONNE GONZALEZ ROGERS
17                                                      United States District Judge
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     PROPOSED ORDER RE: NOTICE OF PRELIMINARY SETTLEMENT              Case No. 4:20-CV-03664-YGR-SVK
